Case 8:18-cv-01644-VAP-KES Document 45 Filed 02/01/19 Page 1 of 4 Page ID #:1268



                                  UNITED STATES DISTRICT COURT
                                  CENTRAL DISTRICT OF CALIFORNIA
                                     CIVIL MINUTES – GENERAL

   Case No. 8:18-cv-01644 VAP (KESx)                              Date February 1, 2019
   Title In Re Eagan Avenatti, LLP



   Present: The Honorable         VIRGINIA A. PHILLIPS, CHIEF UNITED STATES DISTRICT JUDGE


                 BEATRICE HERRERA                                     Not Reported
                   Deputy Clerk                                      Court Reporter


     Attorney(s) Present for Plaintiff(s):                Attorney(s) Present for Defendant(s):
                   None Present                                      None Present


   Proceedings:       MINUTE ORDER (IN CHAMBERS) DENYING MOTION TO DISQUALIFY
                      COUNSEL (DOC. NO. 36.)


           On January 10, 2019, Debtor Egan Avenatti, LLP (“Debtor”) filed its Motion to
  Disqualify Counsel. (Doc. No. 36.) On January 17, 2019, Creditor Jason Frank Law,
  PLC (“Creditor”) filed its Opposition, (Doc. No. 39), and on January 22, 2019, Debtor
  filed its Reply, (Doc. No. 41). After considering the arguments in support of and in
  opposition to the Motion, and those advanced at the January 24, 2019 hearing, the
  Court rules as follows.

           Debtor contends that attorneys Scott Sims, Andrew Stolper, Jason Frank, and
  Franks, Sim & Stolper, LLP must be disqualified as Creditor’s counsel, as “in the course
  of representing EA and Avenatti in litigation, Sims, Jason Frank, and Andrew Stolper
  have learned confidential information about the finances of EA and Avenatti as well as
  their litigation strategies related to financial discovery,” and because Mr. Sims “is
  currently counsel of record for EA and Avenatti in ongoing litigation.” (Doc. No. 36 at 6.)



                  I. DEBTOR’S ARGUMENTS FOR DISQUALIFICATION FAIL

         Debtor’s argument for disqualification based on counsels’ acquisition of
  confidential financial information through their representation of Debtor is belied by Mr.
  Sims’ declaration that he was ordered “not to have any involvement in the

   Page 1 of 4                         CIVIL MINUTES – GENERAL          Initials of Deputy Clerk bh
Case 8:18-cv-01644-VAP-KES Document 45 Filed 02/01/19 Page 2 of 4 Page ID #:1269



  production or review of EA’s or Avenatti’s financial records,” (Doc. No. 39-2 at 3), Mr.
  Frank’s indication that his only work in the case at issue was limited to a single
  deposition, (Doc. No. 39-1 at 3), and Mr. Stolper’s declaration that he never represented
  Debtor in any matter, (Doc. No. 39-3 at 2). Debtor does not substantiate his arguments
  with evidence of any specific information that Sims, Frank, or Stolper learned in the
  course of their work at Egan Avenatti. Furthermore, courts in this Circuit have found
  that attorneys may, when they themselves have an interest adverse to a debtor, serve
  as their own counsel, as the California Rules of Professional Conduct would otherwise
  prevent an attorney from pursuing “collection of an attorney fee without the client's
  written consent. That is not the law.” In re Rindlisbacher, 225 B.R. 180, 183 n.4 (B.A.P.
  9th Cir. 1998)

          Debtor also argues that disqualification is warranted because Mr. Sims currently
  represents it in Egan Avenatti, LLP v. Stoll, a fee collection lawsuit currently pending in
  Orange County Superior Court. Neither the facts nor the law support Debtor’s
  contention. At the January 24, 2019 hearing, Debtor’s counsel stated that Egan
  Avenatti fired Frank and Sims in 2016, and that they were “summarily walked out of the
  premises,” for “plotting to take cases.” It is simply implausible that Sims continued to
  represent Debtor after that, and Sims’ declaration confirms that he did not. Debtor cites
  to California Code of Civil Procedure Sections 284 and 285 for the proposition that the
  lack of any notice of withdrawal by Sims in the Stoll action means that Sims still acts as
  Egan Avenatti’s counsel of record. Neither of those sections directly addresses whether
  an attorney who, like Sims, represented a party while employed at a law firm, must file a
  notice of withdrawal when he or she leaves the firm and the firm continues to represent
  that party. Scant case law exists on this point, but the California Rules of Civil
  Procedure contemplate that attorneys may leave a case without having filed a notice of
  withdrawal. See Cal. Civ. Proc. Code § 285 2. (“Where at different stages of the suit
  different attorneys have acted for one of the parties, and no notice of substitution
  appears, service of notice upon the attorney last acting and recognized by the Court, is
  sufficient to bind client); see also Wells Fargo & Co. v. City & County of San Francisco,
  25 Cal. 2d 37, 43 (1944) (“The requirements of a substitution as prescribed in sections
  284 and 285 of the Code of Civil Procedure are not applicable unless the associated
  attorney attempts to act as the sole attorney rather than as an associated attorney and
  to convert his association into a substitution for the attorney of record.”).


             II. THE “BALANCING OF INTERESTS” TEST WEIGHS AGAINST
                                 DISQUALIFICATION

         A court contemplating a potential disqualification of counsel “must weigh the
  combined effects of a party's right to counsel of choice, an attorney's interest in
  representing a client, the financial burden on a client of replacing disqualified counsel
  and any tactical abuse underlying a disqualification proceeding against the fundamental
  principle that fair resolution of disputes within our adversary system requires vigorous
  representation of parties by independent counsel unencumbered by conflicts of
  interest.” Radcliffe v. Hernandez, 818 F.3d 537, 547 (9th Cir. 2016). Even assuming


   Page 2 of 4                      CIVIL MINUTES – GENERAL           Initials of Deputy Clerk bh
Case 8:18-cv-01644-VAP-KES Document 45 Filed 02/01/19 Page 3 of 4 Page ID #:1270



  that a conflict of interest exists, the first two factors clearly weigh against
  disqualification; the Court will discuss the next two in greater detail.

         The Court finds that Creditors would be prejudiced by disqualification of counsel.
  Creditors state that counsel “spent over a month preparing for the judgment debtor
  exam, reviewing over 106,000 separate banking transactions – involving complicated
  intra company transfers between [Debtor’s] various entities and bank accounts.” (Doc.
  No. 39 at 14.) Requiring new counsel to become sufficiently familiar with these
  transactions to conduct an effective debtor’s examination would involve great time and
  expense. Creditors also argue that such delay could jeopardize their ability to collect a
  judgment, as Debtor has made numerous transfers of assets since the initial debtor’s
  examination.1 (Id. at 15.) Consequently, Creditors would be significantly prejudiced by
  disqualification.

         The Court also finds that Debtor’s Motion to Disqualify, originally made orally at
  the January 4, 2019 debtor’s exam, (Doc. No. 25), is tactically abusive. Counsel that
  Debtor seeks to disqualify first appeared in this action on October 2, 2018, (Doc. No. 15,
  16), some four months ago. Mr. Frank was also present for—and, in fact, made a
  pro se appearance at—the July 25, 2018 debtor’s exam, six months earlier.
  (Doc. No. 43-2 at 64.) Counsel have undertaken numerous substantive actions in this
  case, including representing Creditor at multiple oral arguments, (Doc. No. 18, 25), and
  conferring with Debtor about the date of the January 4, 2019 exam at which the Motion
  was finally brought, (Doc. No. 32, 33). Given the numerous points over a period of
  months at which Debtor could have raised this potential issue, the timing of the Motion
  smacks of tactical abuse.2

        The thus Court finds that the “balancing of interests” test weighs against
  disqualification of counsel.




     1
       Debtor was repeatedly evasive at this examination. Debtor did not bring sub-
     poenaed documents, (Doc. No. 43-2 at 7), claimed not to know if Egan Avenatti
     had filed tax returns, (id. at 13), was unable to recall his income from the firm (or
     even provide an estimate), (id. at 24-25), claimed not to recall how Egan Avenatti
     fell $2 million behind in payroll taxes, (id. at 31), and indicated that he did not
     remember when Mr. Egan left Egan Avenatti, (id. at 63). Debtor also noted that
     he may only pay a portion of the $10-million judgment to Mr. Frank because it
     was “bogus.” (Id. at 11-12.)
     2
      Other courts in this district to consider similar months-long delays in bringing a
     motion to disqualify have found they suggest “both waiver of the right to disqualify
     and that the motion is a ‘tactical abuse’ of the procedure.” Sirisup v. It's Thai,
     L.L.C., No. CV 13-07246 DDP (PJWx), 2015 WL 404096, at *3 (C.D. Cal. Jan.
     29, 2015).

   Page 3 of 4                        CIVIL MINUTES – GENERAL            Initials of Deputy Clerk bh
Case 8:18-cv-01644-VAP-KES Document 45 Filed 02/01/19 Page 4 of 4 Page ID #:1271



         Accordingly, as Debtor’s arguments for disqualification fail and the “balancing of
  interests” test weighs against disqualification of counsel, the Court DENIES Debtor’s
  Motion.

         IT IS SO ORDERED.




   Page 4 of 4                      CIVIL MINUTES – GENERAL          Initials of Deputy Clerk bh
